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                          EXHIBIT C
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     UNITED STATES DISTRICT COURT
     DISTRICT OF NEW JERSEY
     ------------------------------------------------------x
     SECURITIES AND EXCHANGE                               :
     COMMISSION,                                           :
                                                           :
                                Plaintiff,                 :   16 Civ. 1619 (BRM) (JAD)
                                                           :
              -against-                                    :   ECF Case
                                                           :
     GUY GENTILE,                                          :
                                                           :
                                Defendant.                 :
     ------------------------------------------------------x


                PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S
                       SUPPLEMENTAL INITIAL DISCLOSURES

             Pursuant to Rule 26(a) of the Federal Rules of Civil Procedure, Plaintiff Securities

     and Exchange Commission hereby makes the following supplemental initial disclosures:

                                         GENERAL DISCLOSURE

             These disclosures reflect the results of a search of the Commission’s existing files

     compiled in its investigation and during the pendency of this matter.

                                        SPECIFIC DISCLOSURES

     A.      Witnesses

             Set forth below is the name and, to the extent known by the Commission, the

     address and phone number of additional individuals currently known to the Commission

     who is likely to have discoverable information that the Commission may use to support

     its claims in this action other than for purposes of impeachment. The Commission may

     learn during discovery of additional individuals within the scope of Rule 26(a)(1)(A)(i)

     and, if necessary, will supplement these responses at the appropriate time.
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        Person or         Contact Information                Relevant Knowledge
          Entity
      Members of       REDACTED                           Matters relating to the
      the staff of the                                    September 2019 temporary
      Securities                                          suspension of SureTrader/
      Commission                                          Swiss America
      of the                                              Securities/MintBroker
      Bahamas                                             International, Ltd. pursuant
                                                          to Sections 133(1)(b) and (f)
                                                          and 133(3) of the Bahamas
                                                          Securities Industry Act of
                                                          2011
      Members of          REDACTED                        Communications to and
      the staff of the                                    from Mint Bank
      Office of the                                       International, LLC and/or
      Commissioner                                        Gentile (a/k/a Guy Gentile
      of Financial                                        Nigro) in connection with
      Institutions of                                     Mint Bank International,
      Puerto Rico                                         LLC’s application for a
                                                          permit to establish an
                                                          international financial entity
                                                          in Puerto Rico
      Persons            REDACTED                         Ownership of business;
      associated                                          transfer of accounts from
      with                                                SureTrader/Swiss America
      F1TRADE                                             Securities/MintBroker
                                                          International, Ltd. in or
                                                          around November 2019
      Nicholas                REDACTED                    Ownership and operation of
      Abadiotakis                                         Mint Global Markets, Inc.,
                                                          Mint Global Holdings, Inc.,
                                                          and The Stock USA Trust

            In addition to the persons identified above, persons not yet identified and related

     to parties who produced documents to the Commission in its investigation may have

     relevant information concerning the authenticity and admissibility of the records

     produced.




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